       Case 4:13-cr-00160-DLH          Document 51       Filed 01/03/14      Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NORTH DAKOTA
                            NORTHWESTERN DIVISION

United States of America,           )
                                    )
             Plaintiff,             )     ORDER
                                    )
      vs.                           )
                                    )
Anthony Alan Starr,                 )     Case No. 4:13-cr-160
                                    )
             Defendant.             )
______________________________________________________________________________

       The court previously appointed attorney Robert Bolinske, Jr. to represent defendant in this

matter. On January 2, 2014, attorney Jeff Bredahl filed a notice of appearance as counsel for

defendant and what the court construes as a motion for substitution of counsel. Although not

explicitly stated in the motion, Mr. Bredahl has presumably been retained by defendant.

       Accordingly, the court GRANTS the motion for substitution (Docket No. 152) and

authorizes Mr. Bolinsek to withdraw. Mr. Bredahl shall be substituted as counsel-of-record for

defendant.

       IT IS SO ORDERED.

       Dated this 3rd day of January, 2013.

                                                    /s/ Charles S. Miller, Jr.
                                                    Charles S. Miller, Jr., Magistrate Judge
                                                    United States District Court
